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1 |} Robert L. Sallander, Jr. (SBN 118352)
RSallander@gpsllp.com
2 || Chip Cox (SBN159681)
Chipc@gpsllp.com
3 || GREENAN, PEFFER, SALLANDER & LALLY LLP
2000 Crow Canyon Place, Suite 380
4 || San Ramon, California 94583
Telephone: 925-866-1000
5 || Facsimile: 925-830-8787
6 || Attorneys for Plaintiff
NAVIGATORS SPECIALTY
7 || INSURANCE COMPANY
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UNITED STATES DISTRICT COURT
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FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12 |} NAVIGATORS SPECIALTY INSURANCE ) Case No.
COMPANY, a New York Corporation, )
13 ) COMPLAINT FOR DECLARATORY
Plaintiff, ) RELIEF, CONTRIBUTION AND
14 ) INDEMNITY
VS. )
15 )
PREFERRED CONTRACTORS )
16 || INSURANCE COMPANY RISK )
RETENTION GROUP, LLC, a Montana )
17 || Limited Liability Company, )
)
18 Defendant. )
)
19 )
20
21 INTRODUCTION
22 1. Plaintiff Navigators Specialty Insurance Company (“Navigators”) seeks
23 || contribution and declaratory relief from defendant Preferred Contractors Insurance Company,
24 || Risk Retention group, LLC (“Preferred Contractors”). Navigators has defended Premier
25 || Builders & Construction Management, Inc., (“Premier”) in Samluk v. Premier Builders &
26 || Construction Management, Inc., Orange County Superior Court Case No. 30-2017-00907734-
27 || CU-OR-CJC. Preferred Contractors wrongfully declined to defend Premier in Samluk, and so
28 || has imposed that burden on Navigators. Navigators seeks a judicial declaration that Preferred
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Contractors has a duty to defend Premier in Samluk, and contribution for Navigators’ payment of
Premier’s defense costs. Navigators also seeks declaratory relief and indemnity from Preferred
Contractors for the settlement of claims against premier in Samluk.

PARTIES

2. Navigators Specialty Insurance Company is a corporation organized and existing
under the laws of the State of New York, with its principal place of business in the State of New
York and is an eligible surplus lines insurer in California.

3. Navigators is informed and believes and on that basis alleges that defendant
Preferred Contractors is a Limited Liability Company organized and existing under the laws of
the State of Montana with its principal place of business in Carlsbad, California and authorized
to transact business in the State of California.

JURISDICTION

4, This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332
as plaintiff Navigators is a citizen of the state of New York and defendant Preferred Contractors
is a citizen of the States of Montana and California.

5. The amount in controversy in this action exceeds $75,000 exclusive of interest
and costs. Navigators has incurred more than $75,000 in defense costs that equitably should
have been paid by Preferred Contractors,

6. Preferred Contractors failed to defend Premier in Samluk, pending in Orange
County, which is within the jurisdiction of this Court.

CLAIMS IN THE SAMLUK

7. Plaintiffs in Samluk (hereinafter collectively “Samluk”) filed suit in March 2017
naming Premier and D.R. Waterproofing as defendants.

8. Samluk alleged damage to their home at 320 Collins Avenue, in Newport Beach,
California.

9, Samluk alleged that Premier contracted in 2008 with Steven Layton to construct
the home at 320 Collins Avenue, and Premier subcontracted with D.R. Waterproofing to install

waterproofing at the home.

 

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1 10. Samluk alleged that work done in 2008 by Premier and D.R. Waterproofing
2 || damaged their home so as to permit water intrusion causing damage to the wood framing,
3 || insulation, drywall, flooring, electrical and mechanical systems, which has rendered the home
4 || uninhabitable.
5 11. | D.R. Waterproofing allegedly applied waterproofing to three balcony decks,
6 || landing and roof deck, and failed to properly install the waterproofing.
7 12. The allegedly defective work of Premier and D.R. Waterproofing allegedly
8 || caused damage to the work, components and systems installed by defendants and others.
9 PREFERRED CONTRACTORS’ INSURANCE COVERAGE
10 13. Navigators is informed and believes and on that basis alleges that Preferred
11 || Contractors issued insurance policy number PC10150 to D.R. Waterproofing effective March 18,
12 || 2008 to March 18, 2009 providing coverage for property damage caused by an occurrence,
13 || subject to additional conditions and exclusions (hereinafter the “Preferred Contractors Policy”).
14 14. Navigators is informed and believes and on that basis alleges that D.R.
15 || Waterproofing had agreed to name Premier as an additional insured under a Commercial General
16 || Liability Insurance Policy that includes Products/Completed operation coverage, provided on an
17 || “occurrence” form, and ISO endorsement Form B CG20-10-11-85 or its equivalent if
18 || commercially reasonably available.
19 15. | Navigators is informed and believes and on that basis alleges that as required by
20 |} D.R. Waterproofing’s subcontract with Premier, Preferred Contractors issued a Certificate of
21 || Liability Insurance through its agent, Contractors Insurance Group, naming Premier as an
22 || additional insured as if Premier was a Member under the Preferred Contractors Policy.
23 PREFERRED CONTRACTORS’ WRONGFUL DENIAL OF
24 COVERAGE FOR PREMIER
25
26 16. Navigators is informed and believes and on that basis alleges that Preferred
27 || Contractors agreed to defend D.R. Waterproofing, which was ultimately sued in Samluk as the
28 || Estate of Duane Harry Rich.
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17. Notwithstanding Preferred Contractors’ decision to defend D.R. Waterproofing,
and its agreement to name Premier as an additional insured for work on the Samluk home,
Preferred Contractors wrongfully refused to defend Premier in Samluk.

18. Navigators has defended Premier in Samluk, under Navigators Policy No.
SF06CGL000907-03, and is entitled to contribution from Preferred Contractors for defense costs
that Preferred Contractors should have paid to defend Premier in Samluk.

FIRST CAUSE OF ACTION
(For Declaratory Relief)

19. Navigators incorporates the allegations in paragraphs | through 18 of this
complaint as though fully set forth in this first cause of action.

20. An actual controversy has arisen and now exists between Navigators and
Preferred Contractors regarding Preferred Contractors’ duty to defend Premier in Samluk.
Navigators contends the damages sought by plaintiffs against Premier in Samluk are potentially
covered under the Preferred Contractors Policy and Preferred Contractors is obligated to defend
Premier in Samluk.

21. Navigators desires a judicial determination of Preferred Contractors’ rights and
duties under the Preferred Contractors Policy, and a declaration that Preferred Contractors has a
duty to defend Premier in Samluk.

22. A judicial declaration is necessary and appropriate at this time under the
circumstances in order that Navigators and Preferred Contractors may ascertain their respective
rights and duties under the Preferred Contractors Policy.

WHEREFORE, Navigators prays for judgment as set forth below.

SECOND CAUSE OF ACTION
(For Contribution)

23. Navigators incorporates the allegations in paragraphs | through 22 of this
complaint as though fully set forth in this second cause of action.
24, Premier tendered its defense in Samluk to Preferred Contractors, which Preferred

Contractors wrongfully denied.

 

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_ 25. Navigators subsequently incurred fees and costs to defend Premier in Samluk that
equitably should have been paid by Preferred Contractors.
26. Preferred Contractors is equitably obligated to reimburse Navigators for the
defense costs Navigators paid to defend Premier in Samluk.
WHEREFORE, Navigators prays for judgment as set forth below:

THIRD CAUSE OF ACTION
(For Declaratory Relief)

27. Navigators incorporates the allegations in paragraphs 1 through 26 of this
complaint as though fully set forth in this third cause of action.

28.  Anactual controversy has arisen and now exists between Navigators and
Preferred Contractors regarding Preferred Contractors’ duty to indemnify Premier in Samluk.
Navigators contends the damages sought by plaintiffs against Premier in Samluk are potentially
covered under the Preferred Contractors Policy and Preferred Contractors is obligated to accept
reasonable settlement offers regarding claims made against Premier in Samluk before exhausting
the limits of liability of the Preferred Contractors Policy resolving claims against D.R.
Waterproofing.

29. Navigators desires a judicial determination of Preferred Contractors’ rights and
duties under the Preferred Contractors Policy, and a declaration that Preferred Contractors has a
duty to accept reasonable settlement offers regarding claims made against Premier in Samluk.

30. A judicial declaration is necessary and appropriate at this time under the
circumstances in order that Navigators and Preferred Contractors may ascertain their respective
rights and duties under the Preferred Contractors Policy.

WHEREFORE, Navigators prays for judgment as set forth below.

FOURTH OF ACTION
(For Indemnity)

31. Navigators incorporates the allegations in paragraphs 1 through 30 of this
complaint as though fully set forth in this third cause of action.
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32. Premier tendered its defense in Samluk to Preferred Contractors, which Preferred
Contractors wrongfully denied.

33. Preferred Contractors duty to defend and settle claims against Premier in Samluk
is primary to any duties owed by Navigators to Premier in Samluk.

34. Preferred Contractors is equitably obligated to reimburse Navigators for any
settlements paid to resolve claims against Premier in Samluk, before exhausting the limits of
liability of the Preferred Contractors Policy resolving claims against D.R. Waterproofing.

WHEREFORE, Navigators prays for judgment as follows.

PRAYER

1. For a judicial declaration that Preferred Contractors has a duty to defend Premier
in Samluk under the Preferred Contractors Policy;

2. For judgment in an amount to be proven at trial awarding Navigators contribution
from Preferred Contractors for defense costs Navigators paid to defend Premier in Samluk that
equitably should have been paid by Preferred Contractors;

3. For a judicial declaration that Preferred Contractors has a duty to accept
reasonable settlement offers regarding claims made against Premier in Samluk before exhausting
the limits of liability of the Preferred Contractors Policy resolving claims against D.R.
Waterproofing;

4, For judgment in an amount to be proven at trial awarding Navigators contribution
from settlements paid to resolve claims against Premier in Samluk, before exhausting the limits
of liability of the Preferred Contractors Policy resolving claims against D.R. Waterproofing.

5. For the costs of suit incurred herein;

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6. For such other and further relief as this Court may deem just and proper.

Dated: June 4, 2019 GREENAN, PEFFER, SALLANDER & LALLY LLP

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Robert L. Sallander,dr.
Attorneys for Plaintiff
NAVIGATORS SPECIALTY
INSURANCE COMPANY

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